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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 IN RE:                                            *       CASE NO: 22-52799
                                                   *       (Chapter 11)
 EVERGREEN SITE HOLDINGS, INC.                     *
                                                   *
                                                   *       (Judge Preston)
          Debtor/Debtor-in-Possession.             *


 NOTICE OF MOTION OF DENIS E BLASIUS, DARLENE E. FIERLE, AND IRA H. THOMSEN
  OF THE LAW OFFICES OF IRA H. THOMSEN, NOW THOMSEN LAW GROUP, LLC TO
         WITHDRAW AS COUNSEL FOR DEBTOR/DEBTOR-IN-POSSESSION
                      EVERGREEN SITE HOLDINGS, INC.


         Denis E. Blasius, Darlene E. Fierle, and Ira H. Thomsen of the Law Offices of Ira H. Thomsen,
 now Thomsen Law Group, LLC (collectively “Counsel”) has filed a Motion to Withdraw as Counsel for
 Debtor/Debtor-In-Possession Evergreen Site Holdings, Inc. (the “Debtor”), a copy of which is attached
 hereto.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
 wish to consult one.

         If you do not want the Court to grant the Motion, then on or before twenty-one (21) days from
 the date set forth in the Certificate of Service for the Application, you must file with the Court a
 response explaining your position by mailing your response by regular U.S. Mail to:

          U.S. Bankruptcy Court, 170 North High Street, Columbus, Ohio 43215

 OR your attorney must file a response using the Court’s ECF system.

        If you mail your request and response to the Court for filing, you must mail it early enough so the
 Court will receive it on or before the date stated above.

        You must also send a copy of your response either by 1) the Court’s ECF system or 2) regular
 U.S. Mail to:
          Evergreen Site Holdings, Inc., 70 King St., Eustis, FL 32726
          Matthew T. Schaeffer, Subchapter V Trustee, 10 W. Broad St., Suite 2100, Columbus, OH
          43215
          Office of the U.S. Trustee, 170 North High Street, Suite 200, Columbus, OH, 43215
          Darlene E. Fierle, Counsel for Debtor, 140 N. Main St., Suite A, Springboro, OH 45066

          If you or your attorney do not take these steps, the Court may decide that you do not oppose the
 relief sought in the Motion and may enter an order granting that relief without further hearing or notice.
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 Date of Service: May 1, 2023              /s/ Darlene E. Fierle
                                           Darlene E. Fierle (0081217)
                                           Denis E. Blasius (0082617)
                                           Ira H. Thomsen (0023965)
                                           Thomsen Law Group, LLC
                                           140 North Main Street, Suite A
                                           Springboro, Ohio 45066
                                           937-748-5001
                                           937-748-5003 (Fax)
                                           dfierle@ihtlaw.com
                                           Counsel for Evergreen Site Holdings, Inc.
                                           Debtor/Debtor-in-Possession
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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
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 IN RE:                                           *       CASE NO: 22-52799
                                                  *       (Chapter 11)
 EVERGREEN SITE HOLDINGS, INC.                    *
                                                  *
                                                  *       (Judge Preston)
          Debtor/Debtor-in-Possession.            *


   MOTION OF DENIS E BLASIUS, DARLENE E. FIERLE, AND IRA H. THOMSEN OF THE
      LAW OFFICES OF IRA H. THOMSEN, NOW THOMSEN LAW GROUP, LLC TO
         WITHDRAW AS COUNSEL FOR DEBTOR/DEBTOR-IN-POSSESSION
                       EVERGREEN SITE HOLDINGS, INC.


          Now comes Denis E. Blasius, Darlene E. Fierle, and Ira H. Thomsen, of the Law Offices of Ira H.
 Thomsen, now Thomsen Law Group, LLC (collectively “Counsel”), and respectfully moves this Court
 for leave to withdraw as counsel of record for Debtor/Debtor-In-Possession Evergreen Site Holdings, Inc.
 (the “Debtor”).


          Based on grounds contained in Rule 1.16 of the Ohio Rules of Professional Conduct, Counsel
 respectfully requests this honorable Court grant leave for Counsel to withdraw as counsel for the Debtor.
 Discussions with potential replacement counsel have commenced, and it is anticipated that a Motion to
 Approve Substitute Counsel will be forthcoming.



                                                  Respectfully submitted,

                                                  /s/ Darlene E. Fierle
                                                  Darlene E. Fierle (0081217)
                                                  Denis E. Blasius (0082617)
                                                  Ira H. Thomsen (0023965)
                                                  Thomsen Law Group, LLC
                                                  140 North Main Street, Suite A
                                                  Springboro, Ohio 45066
                                                  (937) 748-5001
                                                  (937)748-5003 (Fax)
                                                  dfierle@ihtlaw.com
                                                  Counsel for Debtor/Debtor-In-Possession
                                                  Evergreen Site Holdings, Inc.
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                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 1, 2023, a copy of the foregoing Motion to Withdraw
 As Counsel for Debtor was served on all registered ECF participants, electronically through the court’s ECF
 System at the e- mail address registered with the court and by regular U.S. Mail, postage prepaid, upon the
 following parties and creditors:

  Pamela Arndt                       Brunner Quinn                       Eventuresencore, Inc.
  170 North High Street              5001 Horizons Suite 209             7 South High Street
  Suite 200                          Columbus, OH 43220-5291             Canal Winchester, OH 43110-
  Columbus, OH 43215-2417                                                1212

  Evergreen Site Holdings, Inc.      FISHER    SKROBOT        & Internal Revenue Service
  70 King Street                     SHERAW LLC                 P.O. Box 7346
  Eustis, FL 32726-4048              ATTN DAVID SKROBOT         Philadelphia, PA 19101-7346
                                     471 E BROAD ST - STE 1810
                                     COLUMBUS OH 43215-3863

  Kathy Bennington                   James Whitehead                     Karry Gemmell
  15405 State Route 664, Lot 2       15405 State Route 664, Lot 1        31440 Deerfield Drive
  Logan, OH 43138-9109               Logan, OH 43138-9109                Logan, OH 43138-8584

  James Perry                        John W. Kennedy                     M&T Property Investments, Ltd.
  15405 State Route 664, Lot 3       Kenneth R. Goldberg                 c/o Mark Anthony, Statutory
  Logan, OH 43138-9109               Strip Hoppers Leithart McGrath      Agent
                                     & Terlecky                          1511 State Route 664
                                     575 S. Third St.                    Logan, Ohio 43138
                                     Columbus, OH 43215-5755

  Mark Anthony                       Reg Martin                          James E Nobile
  1511 State Route 664               Martin Management Services,         Nobile & Thompson Co., L.P.A.
  Logan, Ohio 43138                  Inc.                                7509 East Main Street, #208
                                     180 East Broad Street, 28th         Reynoldsburg, Ohio 43068-7268
                                     Floor
                                     Columbus, OH 43215-3707

  OHIO             ATTORNEY          OHIO DEPARTMENT OF                  Reg Martin
  GENERAL’S OFFICE                   TAXATION BANKRUPTCY                 575 Copeland Mill Road, Suite
  ATTN BANKRUPTCY UNIT               DIVISION                            2E
  COLLECTIONS                        30 EAST BROAD STREET                Westerville, Ohio 43081-8977
  ENFORCEMENT                        Columbus, Ohio 43215-3414
  30 E BROAD ST, 14th Floor
  Columbus, Ohio 43215-3414

  Matthew T. Schaeffer               David Stemen                Philip K Stovall
  Bailey Cavalieri LLC               7 S. High St.               Timothy E. Miller
  10 W. Broad St., Suite 2100        Canal Winchester, OH 43110- Isaac, Wiles, Burkholder               &
  Columbus, OH 43215-3455            1212                        Teetor, LLC
                                                                 2 Miranova Place, Suite 700
                                                                 Columbus, OH 43215-5098
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 Timber View Properties, Inc.    U.S. Attorney – Columbus        U.S. Attorney General
 c/o Kevin Humphreys, Esq. SA    303 Marconi Blvd., #200         Main Justice Building
 332 W. 6th Avenue               Columbus, Ohio 43215-2840       10th & Constitution Ave. N.W.
 Columbus, OH 43201-3172                                         Washington, DC 20530-0001




                                           /s/ Darlene E. Fierle
                                           Darlene E. Fierle
                                           Counsel for Evergreen Site Holdings, Inc.
                                           Debtor/Debtor-in-Possession
